Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-11
                                     92-8 Filed 08/30/22
                                                01/26/23 Page 1 of 16 PageID #: 724
                                                                                1184




                            EXHIBIT 6
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-11
                                     82-2 Filed 08/30/22
                                     92-8       05/10/22
                                                01/26/23 Page 2
                                                              1 of 16
                                                                   15 PageID #: 725
                                                                                564
                                                                                1185




                                Exhibit 2
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-11
                                     82-2 Filed 08/30/22
                                     92-8       05/10/22
                                                01/26/23 Page 3
                                                              2 of 16
                                                                   15 PageID #: 726
                                                                                565
                                                                                1186


     From:                 Allison Khaskelis
     To:                   reeoad@gmail.com
     Cc:                   Yisrael Hiller
     Subject:              RE: Rosenshine v A. Meshi Cosmetics Industries, Ltd., et al. No. 18-cv-3572
     Date:                 Monday, 9 May 2022 15:52:00




     Oren, Amir


         1. We see no reason to extend the discovery deadline by 6 months. You have provided no
            reason for such a lengthy extension. We cannot agree until you explain why a 6 month
            extension is necessary.
         2. We do not consider the May 31, 2022 extension that you propose to take without
            requesting our permission to be reasonable. As you know, we served our discovery
            requests in full compliance with the Federal Rules on March 24, 2022. Pursuant to the
            Federal Rules, you had 30 days to respond unless we agreed to provide an extension. We
            granted you until April 25, 2022 to respond. This date is not a recommendation – it is a
            firm deadline imposed by the Federal Rules. Until we chased you, after the deadline had
            passed, you made no effort to respond to our requests or seek an extension to do so.
               We reserve our client’s right to move to compel.
         3. We see no reason to meet and confer until you have fully responded to our discovery
            requests. Once you have done so, we will be happy to schedule a time to meet and
            confer, should that be necessary.   We remind you that our client has fully complied with
            your improper queries, though they wholly disregarded the Federal Rules.

     Please ensure that this email is attached to your letter to the Court, should you seek an
     extension.

     Thanks,
     Allison

     Allison Khaskelis
     Attorney (Admitted in New York, New Jersey and Pennsylvania)




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     From: reeoad@gmail.com <reeoad@gmail.com>
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-11
                                     82-2 Filed 08/30/22
                                     92-8       05/10/22
                                                01/26/23 Page 4
                                                              3 of 16
                                                                   15 PageID #: 727
                                                                                566
                                                                                1187


     Sent: Monday, 9 May 2022 15:30
     To: Allison Khaskelis <Allison.Khaskelis@asserson.co.uk>
     Cc: Yisrael Hiller <Yisrael.Hiller@asserson.co.uk>
     Subject: Re: Rosenshine v A. Meshi Cosmetics Industries, Ltd., et al. No. 18-cv-3572

     We intend to propose to the Court that the discovery deadline be set to a date six months from
     the date the mediator reports back to the ADR office that the mediation has been concluded. In
     any event, we intend to respond to the discovery request you mentioned by no later than May
     31, if not before then.

     Please also advise of your availability for a meet and confer regarding our document requests.


     On Mon, May 9, 2022 at 7:58 AM Allison Khaskelis <Allison.Khaskelis@asserson.co.uk> wrote:

       Oren and Amir,

       We do not consider this an oversight – the Court was quite clear that it considered the present
       deadline to be reasonable in the circumstances. Our client is understandably eager to
       progress and dispose of this matter.

       In any event, we cannot agree to your proposed extension until we have a firm commitment
       from you with regard to 1) a date certain by which you intend to respond to our discovery
       requests dated 24 March 2022 and 2) how long of an extension you intend to propose to the
       Court.   You provide no such information in your below email.

       Thanks,
       Allison

       Allison Khaskelis
       Attorney (Admitted in New York, New Jersey and Pennsylvania)




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       From: reeoad@gmail.com <reeoad@gmail.com>
       Sent: Monday, 9 May 2022 14:53
       To: Allison Khaskelis <Allison.Khaskelis@asserson.co.uk>
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-11
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                                     92-8       05/10/22
                                                01/26/23 Page 5
                                                              4 of 16
                                                                   15 PageID #: 728
                                                                                567
                                                                                1188


       Cc: Yisrael Hiller <Yisrael.Hiller@asserson.co.uk>
       Subject: Re: Rosenshine v A. Meshi Cosmetics Industries, Ltd., et al. No. 18-cv-3572

       Allison,

       We write to seek your agreement to extend the discovery deadline in the matter beyond the
       currently scheduled May 10. We believe that this extension is obviously necessary in light of
       the mediation process that we have been engaged in. Given the circumstances, we consider it
       a simple Court oversight not to have explicitly ordered a stay on discovery.

       Regards,

       Oren and Amir


       On Tue, May 3, 2022 at 6:13 AM Allison Khaskelis <Allison.Khaskelis@asserson.co.uk> wrote:
         Amir and Oren,

         MJ Bloom ordered the discovery process to end on or by May 10, 2022. As such, you must
         write to the court to ask for an extension. As you know, our FRCP discovery requests were
         served on March 24, 2022, so we see no reason for your delay. If you do not seek and are
         not granted such an extension by the court-ordered deadline, we will be moving to compel
         you to respond by May 10, 2022.

         With regard to your requests, please be advised that your requests do not comply with the
         FRCP. Nevertheless, we have fully responded to your requests. For the avoidance of all
         doubt, our client has never been in involved in the sale of Star Gel® and has no documents
         whatsoever regarding Star Gel®.

         Regards,
         Allison




         Allison Khaskelis
         Attorney (Admitted in New York, New Jersey and Pennsylvania)




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 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
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                                                              5 of 16
                                                                   15 PageID #: 729
                                                                                568
                                                                                1189


         Churchill House, 137 – 155 Brent Street, London, NW4 4DJ


         From: reeoad@gmail.com <reeoad@gmail.com>
         Sent: Tuesday, 3 May 2022 12:18
         To: Allison Khaskelis <Allison.Khaskelis@asserson.co.uk>
         Cc: Amir Rosenshine <amir.rosenshine@gmail.com>; Oren Rosenshine
         <oren.rosenshine@gmail.com>; Yisrael Hiller <Yisrael.Hiller@asserson.co.uk>
         Subject: Re: Rosenshine v A. Meshi Cosmetics Industries, Ltd., et al. No. 18-cv-3572

         Allison,

         Your document requests were wide-ranging so we require additional time to respond. We
         expect to send you our submissions by May 16. Likewise, please confirm you will be
         complying with our document requests by then as well to avoid us having to
         involve the court.

         Thanks,

         Oren and Amir


         On Tue, May 3, 2022 at 3:16 AM Allison Khaskelis <Allison.Khaskelis@asserson.co.uk>
         wrote:
           Amir and Oren,

           Please advise when you will be complying with our requests for document production
           dated March 24, 2022 and which were due more than one week ago, on April 25, 2022.
           In the event that you fail to properly respond in according with the Federal Rules of Civil
           Procedure, we will be moving the court to compel your responses forthwith.

           Thank you,
           Allison




           Allison Khaskelis
           Attorney (Admitted in New York, New Jersey and Pennsylvania)




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                                     92-8       05/10/22
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                                                              6 of 16
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           From: reeoad@gmail.com <reeoad@gmail.com>
           Sent: Tuesday, 3 May 2022 9:57
           To: Allison Khaskelis <Allison.Khaskelis@asserson.co.uk>
           Subject: Re: Rosenshine v A. Meshi Cosmetics Industries, Ltd., et al. No. 18-cv-3572

           Allison,

           You only provided an invoice, but we have requested any and all materials, including but
           not limited to, agreements, recordings, written correspondence such as emails/texts,
           etc., in your client's possession/custody/control relating to all sales of Star Gel® ever
           made by your client to any other party besides us or our predecessors (namely, GMIE and
           IG). We remind you that Yermi's declaration, which you referenced, stated that Yermi
           received a call and an email from Eyal Noach (section 35), the agreement between A.
           Meshi and AZ was negotiated and executed in Israel (section 37), the agreement included
           a variety of terms (section 38), and AZ sent Yermi the artwork and information file to use
           to print the label for the Star Gel® sold to AZ (section 43). You were supposed to produce
           all of the above and any related/ancillary communication, documents, and
           records, including, but not limited to, responses, internal communication among A.
           Meshi's employees, call logs/recordings, etc.

           In addition, we have requested that your client identify any and all individuals at A.
           Meshi, any and all individuals outside A. Meshi, and any and all organizations who have
           been involved in the production and sales of Star Gel® to any other party besides us or
           our predecessors, and explain their roles in the supply chain, including, but not limited to,
           positions, titles, responsibilities, etc. Your assertion below, denying that "anyone at A.
           Meshi ever had any involvement with the production and sales of Star Gel®", is
           particularly perplexing given that Yermi already admitted in his declaration that A. Meshi
           produced and sold Star Gel® both to GMIE and AZ.

           In light of the above, we urge you to produce everything we requested in our first
           request for production of documents.


           On Thu, Apr 28, 2022 at 12:22 PM Allison Khaskelis <Allison.Khaskelis@asserson.co.uk>
           wrote:


             Oren and Amir,



             For the avoidance of all doubt, our client A. Meshi Cosmetics Industries Ltd.

             (“A-Meshi”) objects to all of your queries below on the grounds that they are not
Case
 Case1:18-cv-03572-LDH-LB
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                                                              7 of 16
                                                                   15 PageID #: 731
                                                                                570
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            proper under F.R.C.P. 33 and 34.

            Our client’s specific objections to your queries are as follows:


               1. Please send us all documents and records relating to any and all sales of
                  counterfeit Star Gel® ever made by your client, including but not limited to,
                  invoices, agreements, recordings, written correspondence such as emails, etc.
                  We are requesting all materials in your client's possession relating to all sales of
                  Star Gel® ever made by your client to any other party besides us or our
                  predecessors (namely, GMIE and IG).



            Response: A-Meshi denies that it has ever sold any counterfeit Star Gel® product. For
            this reason, A-Meshi has no materials regarding any sales of Star Gel®. For the
            avoidance of doubt, A-Meshi produced and made a one-time sale of hair gel that bore
            the name Star Gel and listed A to Z Import’s name and address on the label. That one-
            time sale took place in November 2016. The only invoice, dated November 23, 2016,
             demonstrating this sole sale is attached hereto (Bates range AMeshi_000001-000003)
            and was referenced in the Declaration of Yermi Mizrahi dated June 3, 2019 that was
            filed in support of A-Meshi’s motion to dismiss.


               2. Please also provide the ownership structure of A. Meshi, including all
                  shareholders and their stakes in the company, directors, and executive
                  managers. In addition, please explain the roles of Mr. Yermi Mizrahi, Mr. Shem
                  Tov Mizrahi, and Ms. Nava Mizrahi in the company, including positions, titles,
                  and responsibilities. Finally, please identify all individuals at A. Meshi, all
                  individuals outside A. Meshi, and all organizations who have been involved in
                  the production and sales of Star Gel® to any other party besides us or our
                  predecessors, and explain their roles in the Star Gel® counterfeiting supply
                  chain.

            Response: A-Meshi objects to this set of queries on the grounds that they are unduly
            burdensome, wholly irrelevant to the issue in dispute, vague, oppressive and
            propounded solely to harass A-Meshi. No such documents will be produced. We
            remind you that your repeated efforts to amend the Amended Complaint to include
            Mr. Yermi Mizrahi, Ms. Nava Mizrahi and Mr. Shem Tov Mizrahi in their individual
            capacities have been denied by both Magistrate Judge Bloom (ECF No. 69) and Judge
            DeArcy Hall (ECF No. 74). It is denied that anyone at A-Meshi ever had any
            involvement with the production and sales of Star Gel® or “the Star Gel®
            counterfeiting supply chain.”


               3. Please find attached the invoice demonstrating the outstanding debt owed by
                  GMIE to A-Meshi that dates back from 2012 (Bates range AMeshi_000004-
                  000005 of the attached document).
Case
 Case1:18-cv-03572-LDH-LB
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                                                01/26/23 Page 9
                                                              8 of 16
                                                                   15 PageID #: 732
                                                                                571
                                                                                1192


            Regards,
            Allison




            Allison Khaskelis
            Attorney (Admitted in New York, New Jersey and Pennsylvania)




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            to:
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            From: Oren Rosenshine <oren.rosenshine@gmail.com>
            Sent: Wednesday, 23 March 2022 14:11
            To: Amir Rosenshine <amir.rosenshine@gmail.com>
            Cc: Allison Khaskelis <Allison.Khaskelis@asserson.co.uk>; Yisrael Hiller
            <Yisrael.Hiller@asserson.co.uk>
            Subject: Re: Rosenshine v A. Meshi Cosmetics Industries, Ltd., et al. No. 18-cv-3572

            Allison,

            We have not received the below-requested information for the discovery. If we do not
            receive the requested information by the end of this week, we will file a motion to
            compel discovery with the court.


            On Mon, Dec 14, 2020 at 3:42 AM Amir Rosenshine <amir.rosenshine@gmail.com>
            wrote:
               Dear Ms. Khaskelis,

               Attached are our disclosures.

               Please send us all documents and records relating to any and all sales of counterfeit
               Star Gel® ever made by your client, including but not limited to, invoices,
               agreements, recordings, written correspondence such as emails, etc. We are
               requesting all materials in your client's possession relating to all sales of Star Gel®
               ever made by your client to any other party besides us or our predecessors (namely,
Case
 Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB
       1:18-cv-03572-LDH-LBDocument
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               GMIE and IG).

               Please also provide the ownership structure of A. Meshi, including all shareholders
               and their stakes in the company, directors, and executive managers. In addition,
               please explain the roles of Mr. Yermi Mizrahi, Mr. Shem Tov Mizrahi, and Ms. Nava
               Mizrahi in the company, including positions, titles, and responsibilities. Finally,
               please identify all individuals at A. Meshi, all individuals outside A. Meshi, and all
               organizations who have been involved in the production and sales of Star Gel® to
               any other party besides us or our predecessors, and explain their roles in the Star
               Gel® counterfeiting supply chain.

               Sincerely,

               Oren Rosenshine, Amir Rosenshine
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
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                                                01/26/23 Page 11
                                                              10 of 16
                                                                    15 PageID #: 734
                                                                                 573
                                                                                 1194


      From:                reeoad@gmail.com
      To:                  Allison Khaskelis
      Cc:                  Yisrael Hiller
      Subject:             Re: Rosenshine v A. Meshi Cosmetics Industries, Ltd., et al. No. 18-cv-3572
      Date:                Friday, 29 April 2022 14:07:40


     Allison,

     We will update you by Monday regarding the submissions as well as dates for a meet and
     confer.


     On Thu, Apr 28, 2022 at 12:27 PM Allison Khaskelis
     <Allison.Khaskelis@asserson.co.uk> wrote:

        Oren, Amir,



        We refer to our below email of March 24, 2022 serving our client’s first set of document
        requests pursuant to the Federal Rules of Civil Procedure.



        Pursuant to the Federal Rules of Civil Procedure, the deadline for your responses and
        production of documents responsive to these requests was April 25, 2022.



        Please advise when you are available on the following dates for a meet and confer:



                 May 2, 2022
                 May 3, 2022
                 May 4, 2022



        Regards,

        Allison



        Allison Khaskelis

        Attorney (Admitted in New York, New Jersey and Pennsylvania)




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Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
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       From: Allison Khaskelis
       Sent: Thursday, 24 March 2022 16:15
       To: 'Amir Rosenshine' <amir.rosenshine@gmail.com>
       Cc: Oren Rosenshine <oren.rosenshine@gmail.com>; Yisrael Hiller
       <Yisrael.Hiller@asserson.co.uk>
       Subject: RE: Rosenshine v A. Meshi Cosmetics Industries, Ltd., et al. No. 18-cv-3572



       Amir, Oren,



       It is unfortunate that you have now reneged on the commitment you expressly made on
       March 8, 2022 to produce certain documents. We consider that a sign of bad faith. As
       such, please find attached our client’s first request for the production of documents in
       accordance with the Federal Rules.



       With regard to your below requests, we understand from your below email that you have
       no intention to serve appropriate requests, as required by the Federal Rules.
       Consequently, we will respond to your below requests in full compliance with the
       deadlines set out by the Federal Rules.



       Thanks,

       Allison
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-11
                                     82-2 Filed 08/30/22
                                     92-8       05/10/22
                                                01/26/23 Page 13
                                                              12 of 16
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       From: Amir Rosenshine <amir.rosenshine@gmail.com>
       Sent: Wednesday, 23 March 2022 14:55
       To: Allison Khaskelis <Allison.Khaskelis@asserson.co.uk>
       Cc: Oren Rosenshine <oren.rosenshine@gmail.com>; Yisrael Hiller
       <Yisrael.Hiller@asserson.co.uk>
       Subject: Re: Rosenshine v A. Meshi Cosmetics Industries, Ltd., et al. No. 18-cv-3572



       To clarify, our request has not changed since we made it. With respect to the documents
       that the mediator proposed for both sides to exchange during the mediation session, we
       believe it would make more sense to proceed with discovery instead.



       Please advise whether you intend to comply with the request, otherwise let us know
       when you would be available for a meet and confer ahead of our motion to compel
       discovery.
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
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                                                01/26/23 Page 14
                                                              13 of 16
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                                                                                 1197


       On Wed, Mar 23, 2022 at 8:19 AM Allison Khaskelis
       <Allison.Khaskelis@asserson.co.uk> wrote:

         Oren and Amir,



         You have served no discovery requests in a proper format on my client as is required
         by FRCP. To the extent that the below email serves as your requests, they are invalid
         as they were served prior to the decision on your motion for leave to amend your
         Amended Complaint. As such, it is unclear what you will be trying to compel.   In any
         event, as you no doubt know, the local rules require a meet and confer in advance of
         any such motion.



         Furthermore, confirm whether you will be providing the documents you committed to
         provide by April 8.



         Regards,

         Allison




         Allison Khaskelis

         Attorney (Admitted in New York, New Jersey and Pennsylvania)




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         to:

         Churchill House, 137 – 155 Brent Street, London, NW4 4DJ




         From: Oren Rosenshine <oren.rosenshine@gmail.com>
         Sent: Wednesday, 23 March 2022 14:11
         To: Amir Rosenshine <amir.rosenshine@gmail.com>
         Cc: Allison Khaskelis <Allison.Khaskelis@asserson.co.uk>; Yisrael Hiller
         <Yisrael.Hiller@asserson.co.uk>
         Subject: Re: Rosenshine v A. Meshi Cosmetics Industries, Ltd., et al. No. 18-cv-3572



         Allison,



         We have not received the below-requested information for the discovery. If we do not
         receive the requested information by the end of this week, we will file a motion to
         compel discovery with the court.




         On Mon, Dec 14, 2020 at 3:42 AM Amir Rosenshine <amir.rosenshine@gmail.com>
         wrote:

           Dear Ms. Khaskelis,

           Attached are our disclosures.



           Please send us all documents and records relating to any and all sales of counterfeit
           Star Gel® ever made by your client, including but not limited to, invoices,
           agreements, recordings, written correspondence such as emails, etc. We are
           requesting all materials in your client's possession relating to all sales of Star Gel®
           ever made by your client to any other party besides us or our predecessors (namely,
           GMIE and IG).



           Please also provide the ownership structure of A. Meshi, including all shareholders
           and their stakes in the company, directors, and executive managers. In addition,
           please explain the roles of Mr. Yermi Mizrahi, Mr. Shem Tov Mizrahi, and Ms.
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-11
                                     82-2 Filed 08/30/22
                                     92-8       05/10/22
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                                                                                 578
                                                                                 1199


           Nava Mizrahi in the company, including positions, titles, and responsibilities.
           Finally, please identify all individuals at A. Meshi, all individuals outside A. Meshi,
           and all organizations who have been involved in the production and sales of Star
           Gel® to any other party besides us or our predecessors, and explain their roles in the
           Star Gel® counterfeiting supply chain.



           Sincerely,



           Oren Rosenshine, Amir Rosenshine
